        Case 3:16-md-02741-VC Document 14243 Filed 11/23/21 Page 1 of 6




Karen Barth Menzies (SBN 180234)
GIBBS LAW GROUP LLP
505 14th Street, Suite 1110
Oakland, CA 94612
Tel: (510) 350-9700
Fax: (510) 350-9701
kbm@classlawgroup.com
Fletcher V. Trammell
Melissa Binstock Ephron
Patrick B. McAndrew
TRAMMELL, PC
3262 Westheimer Rd., Ste. 423
Houston, TX 77098
Tel: (800) 405-1740
Fax: (800) 532-0992
fletch@trammellpc.com
melissa@trammellpc.com
patrick@trammellpc.com
Andrew F. Kirkendall
Erin M. Wood
KIRKENDALL DWYER LLP
4343 Sigma Rd, Suite 200
Dallas, TX 75244
Tel: 214-271-4027
Fax: 214-253-0629
ak@kirkendalldwyer.com
ewood@kirkendalldwyer.com
Attorneys for Plaintiff
                              UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA

IN RE: ROUNDUP PRODUCTS LIABILITY            MDL No. 2741
LITIGATION                                   Case No. 3:16-md-02741-VC

This document relates to:
                                             Case No. 3:21-cv-07729-VC
HARRISON OSWALD,
                                             PLAINTIFF’S REPLY IN SUPPORT OF
           Plaintiff,                        MOTION TO REMAND
 v.
                                           Hon. Vince Chhabria
MONSANTO COMPANY, a corporation;           Date: December 9, 2021
WILBUR-ELLIS COMPANY, LLC, a limited       Time: 10:00 am
liability company; WILBUR-ELLIS NUTRITION, Courtroom: 4 – 17th Floor
LLC (formerly WILBUR-ELLIS FEED, LLC), a
limited liability company; G&S HARDWARE


             PLAINTIFF’S REPLY IN SUPPORT OF MOTION TO REMAND
       Case 3:16-md-02741-VC Document 14243 Filed 11/23/21 Page 2 of 6



PURCHASING, INC. D/B/A ROSEVILLE ACE
HARDWARE; and DOES 1 through 100 inclusive,

         Defendants.




           PLAINTIFF’S REPLY IN SUPPORT OF MOTION TO REMAND
        Case 3:16-md-02741-VC Document 14243 Filed 11/23/21 Page 3 of 6




                                             Introduction

        Because federal courts are courts of limited jurisdiction and because of federalism

concerns, there is a presumption against removal jurisdiction. See Kokkonen v. Guardian Life Ins.

Co. of Am., 511 U.S. 375, 377 (1994) (holding that presumption against jurisdiction exists because

federal courts are courts of limited jurisdiction); Shamrock Oil & Gas Corp. v. Sheets, 313 U.S.

100, 108-09 (1941) (indicating that federalism concerns and Congressional intent mandate strict

construction of removal statutes). This “strong presumption against removal jurisdiction means

that the defendant always has the burden of establishing that removal is proper.” Gaus v. Miles,

Inc., 980 F.2d 564, 566 (9th Cir. 1992). Removal based on diversity grounds is improper when a

forum defendant is included in the suit. 28 U.S.C. § 1441(b)(2). The claims asserted against the

forum defendant must be legitimate and not against a sham defendant. See Hamilton Materials,

Inc. v. Dow Chem. Corp. 494 F.3d 1203, 1206 (9th Cir. 2007) (quoting McCabe v. General Foods

Corp. 811 F.2d 1336, 1339) (9th Cir. 1987) (“If the plaintiff fails to state a cause of action against

a resident defendant, and the failure is obvious according to the settled rules of the state, the joinder

of the resident defendant is deemed fraudulent.”). These touchstone principles apply in the current

matter because the non-diverse defendants involved in this matter are not sham defendants and

should prevent Defendant’s attempt at removal.

                                  There is no Fraudulent Joinder

        Defendant’s claim of fraudulent joinder is simply incorrect. The doctrine of fraudulent

joinder applies when a non-diverse defendant’s joinder is a “sham”—that is, when a party is joined

“without any reasonable basis in fact and without any purpose to prosecute the action in good

faith.” Wilson v. Republic Iron & Steel Co., 257 U.S. 92, 98-99 (1921). There are two ways to

establish fraudulent joinder: “(1) actual fraud in the pleading of jurisdictional facts, or (2) inability


                                      1
             PLAINTIFF’S REPLY IN SUPPORT OF MOTION TO REMAND
        Case 3:16-md-02741-VC Document 14243 Filed 11/23/21 Page 4 of 6




of the plaintiff to establish a cause of action against the non-diverse party in state court.” Grancare,

LLC v. Thrower by and Through Mills, 889 F.3d 543, 548 (9th Cir. 2018) (quoting Hunter v. Philip

Morris USA, 582 F.3d 1039, 1044 (9th Cir. 2009)). Both avenues offered by case law are not

applicable here.

        Additionally, the burden to establish fraudulent joinder is indeed a “heavy” one. Grancare,

889 F.3d at 548. This Court has stated that “if there is a possibility that a state court would find

that the complaint states a cause of action against any of the resident defendants, the federal court

must find that the joinder was proper and remand the case to the state court. In re Roundup Prods.

Liab. Litig. (Coffman), MDL 2741, Pretrial Order No. 254: Granting Motion to Remand (N.D. Cal.

Oct. 19, 2021) (quoting Grancare, 889 F.3d at 548). A finding of fraudulent joinder is

inappropriate “where a defendant raises a defense that requires a searching inquiry into the merits

of the plaintiff’s case, even if that defense, if successful, would prove fatal.” Id.

        As stated in Plaintiff’s Motion for Remand, the inadvertent error in the initial discovery

responses was in the process of being cured when Defendant filed its Notice of Removal. It is

standard practice in litigation for parties to amend discovery responses – such is the case here.

Ultimately whether Plaintiff filed amended discovery answers the day after the Notice of Removal

was filed, or immediately prior to filing the Motion for Remand is of no moment to this Court.

What is important is that there are valid, prosecutable claims against a non-diverse, California

entity in this matter – Defendant Roseville Ace Hardware.

        Defendant’s attempts to color this Court’s viewpoint on the inclusion of the non-diverse

Defendants should fall short. So long as the claims are colorable, the courts do not make piercing

inquiries into the plaintiff’s intentions. See Kyle v. Envoy Mortg., LLC, No. 18-CV-2396-BAS-

WVG, 2018 WL 6600105, at *2 (S.D. Cal. Dec. 17, 2018) (instructing against “undertaking a


                                      2
             PLAINTIFF’S REPLY IN SUPPORT OF MOTION TO REMAND
        Case 3:16-md-02741-VC Document 14243 Filed 11/23/21 Page 5 of 6




searching inquiry into a plaintiff’s subjective motives”); Gebran v. Wells Fargo Bank, N.A., No.

CV 16-07616 BRO (MRWx), 2016 WL 7471292, at *7 (C.D. Cal. Dec. 28, 2016) (“[T]he

defendant must convince the court that . . . the plaintiff could not possibly recover against the party

whose joinder is questioned.”); Selman v. Pfizer, Inc., No. 11-CV-1400-HU, 2011 WL 6655354

(D. Or. Dec. 16, 2011) (analyzing and rejecting subjective intent test)). Plaintiff intends to

prosecute his claims against all current defendants. But even if some defendants are ultimately

dismissed, it is improper for Defendant to cast those aspersions or for this Court to entertain them.

        This Court has additionally stated that fraudulent joinder exists only “if, after all disputed

questions of fact and all ambiguities in the controlling state law are resolved in the plaintiff’s favor,

the plaintiff could not possibly recover against the party whose joinder is questioned.” In re

Roundup Prods. Liab. Litig., 396 F.Supp.3d 893, 896 (N.D. Cal. 2019) (quoting Jurin v.

Transamerica Life Ins. Co., C-14 02882 LB, 2014 WL 4364901 at *3 (N.D. Cal. Sept. 3, 2014)).

In the simplest terms, Plaintiff has valid claims against a non-diverse, California Defendant. He

pleaded these facts and has now backed them up with sworn testimony supporting those facts. This

Court should resolve any issues in favor of Plaintiff and remand this action.

                                           CONCLUSION

        For the foregoing reasons, Plaintiff respectfully requests this Court to grant Plaintiff’s

Motion to Remand.


Dated: November 23, 2021                        GIBBS LAW GROUP LLP

                                                By: /s/ Karen Barth Menzies
                                                     Karen Barth Menzies
                                                     505 14th Street, Suite 1110
                                                     Oakland, CA 94612
                                                     Tel: (510) 350-9700
                                                     Fax: (510) 350-9701
                                                     kbm@classlawgroup.com

                                      3
             PLAINTIFF’S REPLY IN SUPPORT OF MOTION TO REMAND
Case 3:16-md-02741-VC Document 14243 Filed 11/23/21 Page 6 of 6




                                Fletcher V. Trammell
                                Melissa Binstock Ephron
                                Patrick B. McAndrew
                                TRAMMELL, PC
                                3262 Westheimer Rd., Ste. 423
                                Houston, TX 77098
                                Tel: (800) 405-1740
                                Fax: (800) 532-0992
                                fletch@trammellpc.com
                                melissa@trammellpc.com
                                patrick@trammellpc.com

                                Alexander G. Dwyer
                                Andrew F. Kirkendall
                                Erin M. Wood
                                KIRKENDALL DWYER LLP
                                4343 Sigma Rd, Suite 200
                                Dallas, TX 75244
                                Tel: 214-271-4027
                                Fax: 214-253-0629
                                ad@kirkendalldwyer.com
                                ak@kirkendalldwyer.com
                                ewood@kirkendalldwyer.com

                                Attorneys for Plaintiff




                            4
   PLAINTIFF’S REPLY IN SUPPORT OF MOTION TO REMAND
